                Case 22-56993-lrc                 Doc 1     Filed 09/02/22 Entered 09/02/22 16:35:11                             Desc Main
                                                            Document      Page 1 of 34

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Making Dough, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Your Pie
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1895 Milfield Circle
                                  Snellville, GA 30078
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Gwinnett                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 22-56993-lrc               Doc 1          Filed 09/02/22 Entered 09/02/22 16:35:11                                 Desc Main
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Debtor    Making Dough, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                      Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    Making Dough, LLC                                                                               Case number (if known)
          Name

     List all cases. If more than 1,                                                                                                                      Debtor's
     attach a separate list                          Debtor      Terrence and Kimberly Griffin                                 Relationship               principals

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Making Dough, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 2, 2022
                                                  MM / DD / YYYY


                             X   /s/ Terrence Griffin                                                     Terrence Griffin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ William A. Rountree                                                   Date September 2, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William A. Rountree
                                 Printed name

                                 Rountree, Leitman Klein & Geer, LLC
                                 Firm name

                                 Century Plaza I
                                 2987 Clairmont Road, Ste 350
                                 Atlanta, GA 30329
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-584-1238                  Email address      swenger@rlklawfirm.com

                                 616503 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 2, 2022                       X /s/ Terrence Griffin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Terrence Griffin
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 22-56993-lrc                                Doc 1              Filed 09/02/22 Entered 09/02/22 16:35:11                                                        Desc Main
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 Fill in this information to identify the case:

 Debtor name            Making Dough, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            97,700.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            97,700.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           451,333.20


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,925.27

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           185,406.09


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             649,664.56




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Renasant Bank                                           Checking                        7257                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Making Dough, LLC                                                             Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Monitor, Tv's                                                                    $0.00                                         $2,500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer                                                                         $0.00                                           $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $2,700.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Making Dough, LLC                                                            Case number (If known)
                Name

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Oven, Fixtures, Ice Machine, Tables and
            Chairs, Coolers                                                                 $0.00    Appraisal                 $95,000.00




 51.        Total of Part 8.                                                                                               $95,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 3
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 Debtor          Making Dough, LLC                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $95,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $97,700.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $97,700.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Lendio/Kapitus                                 Describe debtor's property that is subject to a lien                   $20,437.50                      $0.00
       Creditor's Name
       2500 Wilson Blvd
       Suite 350
       Arlington, VA 22201
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Renasant Bank                                  Describe debtor's property that is subject to a lien                 $306,395.70                 $95,000.00
       Creditor's Name                                Oven, Fixtures, Ice Machine, Tables and
       622 Sugarloaf Parkway                          Chairs, Coolers
       Suite 300
       Duluth, GA 30097
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
       rich.finamore@renasant.co                      Is the creditor an insider or related party?
       m                                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2/25/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Making Dough, LLC                                                                       Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    SBA EIDL                                      Describe debtor's property that is subject to a lien                     $124,500.00                  $0.00
        Creditor's Name
        2 North Street
        Ste 320
        Birmingham, AL 35203
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        8001
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $451,333.20

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         SBA Loan
         2 20 St. N. Ste 320                                                                                    Line   2.2
         Birmingham, AL 35203




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 22-56993-lrc                      Doc 1           Filed 09/02/22 Entered 09/02/22 16:35:11                                Desc Main
                                                                     Document     Page 13 of 34
 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,925.27         $0.00
           DeKalb County Tax Commissioner                            Check all that apply.
           PO Box 100004                                                Contingent
           Decatur, GA 30031                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Personal Property Taxes

           Last 4 digits of account number 474C                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Georgia Department of Labor                               Check all that apply.
           148 Andew Young Int'l Blvd. NE                               Contingent
           Atlanta, GA 30303                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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              Case 22-56993-lrc                      Doc 1           Filed 09/02/22 Entered 09/02/22 16:35:11                                            Desc Main
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 Debtor       Making Dough, LLC                                                                               Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $10,000.00    $10,000.00
           Georgia Department of Revenue                             Check all that apply.
           1800 Centrury Center Blvd                                    Contingent
           Suite 9100                                                   Unliquidated
           Atlanta, GA 30345                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Taxes

           Last 4 digits of account number 2044                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Arrow Exterminators                                                         Contingent
           2695 Leeshire Rd., #200                                                     Unliquidated
           Tucker, GA 30084                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      0953
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $82.30
           Atlanta Super Source, Inc.                                                  Contingent
           3655 Kennesaw                                                               Unliquidated
           75 Parkway, Suite 100                                                       Disputed
           Kennesaw, GA 30144
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $15,051.00
           Capital One                                                                 Contingent
           PO Box 71083                                                                Unliquidated
           Charlotte, NC 28272                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      6850
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
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 Debtor       Making Dough, LLC                                                                       Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $317.20
          Cintas                                                                Contingent
          1055 Progress Industrial Blvd                                         Unliquidated
          Lawrenceville, GA 30043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       3445
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $343.14
          Coca-Cola North America                                               Contingent
          P.O. Box 102703                                                       Unliquidated
          Atlanta, GA 30368-2703                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       2512
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $854.82
          Comcast Business                                                      Contingent
          P.O. Box 71211                                                        Unliquidated
          Charlotte, NC 28272-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8804
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $440.00
          Environmental Remedies                                                Contingent
          452 Sawtell Ave. SE                                                   Unliquidated
          Atlanta, GA 30315                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2176
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $241.22
          Express Merchant Processing                                           Contingent
          PO Box 175447                                                         Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,704.23
          Gas South                                                             Contingent
          PO Box 530552                                                         Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1698
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,545.22
          Georgia Power                                                         Contingent
          96 Annex                                                              Unliquidated
          Atlanta, GA 30396                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       6077
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 5
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 Debtor       Making Dough, LLC                                                                       Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,899.00
          IRS-941                                                               Contingent
          PO Box 9941                                                           Unliquidated
          Ogden, UT 84409                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tax Return or Notice
          Last 4 digits of account number       1293
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,390.89
          KImco (Embry Hills)                                                   Contingent
          00 North Broadway                                                     Unliquidated
          Suite 201                                                             Disputed
          Jericho, NY 11753
                                                                             Basis for the claim:    Lease
          Date(s) debt was incurred
          Last 4 digits of account number       1077                         Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NCR                                                                   Contingent
          864 Spring St NW                                                      Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number       1648
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,175.66
          NuCo2                                                                 Contingent
          2054 Sigman Road NW                                                   Unliquidated
          Conyers, GA 30012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0302
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          OLO                                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       cker                         Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,085.57
          Renasant Bank                                                         Contingent
          209 Troy St                                                           Unliquidated
          PO Box 709                                                            Disputed
          Tupelo, MS 38802
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.00
          Singh and Patel CPAs LLc                                              Contingent
          10801 Pruett Lane                                                     Unliquidated
          Glen Allen, VA 23059                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       Making Dough, LLC                                                                       Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $93.54
           SOFO FOODS                                                           Contingent
           3910 Lakefield Dr                                                    Unliquidated
           Suwanee, GA 30024                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number      4900
                                                                             Is the claim subject to offset?       No     Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $82.30
           Super Source, Inc.                                                   Contingent
           3655 Kennesaw                                                        Unliquidated
           75 Parkway, Suite 100                                                Disputed
           Kennesaw, GA 30144
                                                                             Basis for the claim:    Lease - Dishwasher
           Date(s) debt was incurred
           Last 4 digits of account number      9217                         Is the claim subject to offset?       No     Yes


 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $100,000.00
           Terrence and Kimberly Griffin                                        Contingent
           1895 Milfield Circle,                                                Unliquidated
           Snellville, GA 30078                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Trimark                                                              Contingent
           6684 Jimmy Carter Blvd                                               Unliquidated
           Norcross, GA 30071                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      1938
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        12,925.27
 5b. Total claims from Part 2                                                                            5b.   +    $                       185,406.09

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          198,331.36




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Griffin                           1895 Milfield Circle,                              Renasant Bank                     D   2.2
             Investment                        Snellville, GA 30078                                                                 E/F
             Group Inc.
                                                                                                                                    G




    2.2      Kimberly Griffin                  1895 Milfield Circle                               Renasant Bank                     D   2.2
                                               Snellville, GA 30078                                                                 E/F
                                                                                                                                    G




    2.3      Kimberly Griffin                  1895 Milfield Circle                               KImco (Embry Hills)               D
                                               Snellville, GA 30078                                                                 E/F       3.12
                                                                                                                                    G




    2.4      Terrence Griffin                  1895 Milfield Circle                               Renasant Bank                     D   2.2
                                               Snellville, GA 30078                                                                 E/F
                                                                                                                                    G




    2.5      Terrence Griffin                  1895 Milfield Circle                               KImco (Embry Hills)               D
                                               Snellville, GA 30078                                                                 E/F       3.12
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Making Dough, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $286,000.00
       From 1/01/2022 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $431,000.00
       From 1/01/2021 to 12/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $296,113.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Making Dough, LLC                                                                         Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Renasant Bank                                               Various                            Unknown
               622 Sugarloaf Parkway
               Suite 300
               Duluth, GA 30097

       4.2.    Kimco(Embry Hills)                                          Various                            Unknown
               00 North Broadway
               Suite 201
               East Islip, NY 11730

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Atlanta Super Source, Inc.                                Dishwasher                                                                                       $0.00
       3655 Kennesaw
       75 Parkway, Suite 100
       Kennesaw, GA 30144

       Kimco( Embry Hills)                                       3499 Chamblee Tucker Rd                                                                          $0.00
       00 North Broadway                                         Atlanta, GA 30341
       Suite 201
       NY 10770


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Embry Village S.C. , LLC                          Civil                      Magistrate Court of Dekalb                   Pending
               v                                                                            County                                       On appeal
               Making Dough, LLC, DBA
                                                                                                                                         Concluded
               Your Pie
               22#09863


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor       Making Dough, LLC                                                                             Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.2.    Renasant Bank                                     Civil                        State Court of Gwinnet                      Pending
                                                                                              County                                      On appeal
               v
                                                                                                                                          Concluded
               Making Dough, LLC; The
               Griffin Ivestment Group, Inc.,
               Terrence Griffin, and
               Kimberly Griffin
               22-C-03618-S5

       7.3.    Kapitus Servicing, Inc.                           Civil                        Henrico District Court                      Pending
               v                                                                                                                          On appeal
               Making Dough, LLC
                                                                                                                                          Concluded
               201985301

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Making Dough, LLC                                                                         Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Rountree Leitman Klein &
                 Geer, LLC
                 2987 Clairmont Rd
                 Atlanta, GA 30329                                   Retainer and filing fee                                   8/22/22                  $3,338.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.
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 Debtor      Making Dough, LLC                                                                          Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Sing and Patel CPAS LLC                                                                                                    December 2021 -
                    1455 Satellite Blvd                                                                                                        May 2022
                    Suwanee, GA 30024

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Singh and Patel CPAs LLC                                                                                                   December 2021 -
                    1455 Satellite Blvd                                                                                                        May 2022
                    Suwanee, GA 30024

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.



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              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Renasant Bank
                    622 Sugarloaf Parkway
                    Suite 300
                    Duluth, GA 30097
       26d.2.       Small Business Administration
                    2 North 20th Street
                    Suite 320
                    Birmingham, AL 35203

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Griffin Investment Group                       1895 Milfield Circle                                                                      100
       LLC                                            Snellville, GA 30078



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.




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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 2, 2022

 /s/ Terrence Griffin                                                   Terrence Griffin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       Making Dough, LLC                                                                                Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in any adversary proceeding and/or contested matter
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 2, 2022                                                            /s/ William A. Rountree
     Date                                                                         William A. Rountree
                                                                                  Signature of Attorney
                                                                                  Rountree, Leitman Klein & Geer, LLC
                                                                                  Century Plaza I
                                                                                  2987 Clairmont Road, Ste 350
                                                                                  Atlanta, GA 30329
                                                                                  404-584-1238 Fax: 404 704-0246
                                                                                  swenger@rlklawfirm.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Making Dough, LLC                                                                               Case No.
                                                                                    Debtor(s)               Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       September 2, 2022                                           /s/ Terrence Griffin
                                                                         Terrence Griffin/Managing Member
                                                                         Signer/Title




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                         Arrow Exterminators
                         2695 Leeshire Rd., #200
                         Tucker, GA 30084



                         Atlanta Super Source, Inc.
                         3655 Kennesaw
                         75 Parkway, Suite 100
                         Kennesaw, GA 30144



                         Capital One
                         PO Box 71083
                         Charlotte, NC 28272



                         Cintas
                         1055 Progress Industrial Blvd
                         Lawrenceville, GA 30043



                         Coca-Cola North America
                         P.O. Box 102703
                         Atlanta, GA 30368-2703



                         Comcast Business
                         P.O. Box 71211
                         Charlotte, NC 28272-1211



                         DeKalb County Tax Commissioner
                         PO Box 100004
                         Decatur, GA 30031



                         Environmental Remedies
                         452 Sawtell Ave. SE
                         Atlanta, GA 30315



                         Express Merchant Processing
                         PO Box 175447
                         Denver, CO 80217
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                     Gas South
                     PO Box 530552
                     Atlanta, GA 30353



                     Georgia Department of Labor
                     148 Andew Young Int'l Blvd. NE
                     Atlanta, GA 30303



                     Georgia Department of Revenue
                     1800 Centrury Center Blvd
                     Suite 9100
                     Atlanta, GA 30345



                     Georgia Power
                     96 Annex
                     Atlanta, GA 30396



                     Griffin Investment Group Inc.
                     1895 Milfield Circle,
                     Snellville, GA 30078



                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101



                     IRS-941
                     PO Box 9941
                     Ogden, UT 84409



                     Kimberly Griffin
                     1895 Milfield Circle
                     Snellville, GA 30078



                     KImco (Embry Hills)
                     00 North Broadway
                     Suite 201
                     Jericho, NY 11753
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                     Lendio/Kapitus
                     2500 Wilson Blvd
                     Suite 350
                     Arlington, VA 22201



                     NCR
                     864 Spring St NW
                     Atlanta, GA 30308



                     NuCo2
                     2054 Sigman Road NW
                     Conyers, GA 30012



                     OLO




                     Renasant Bank
                     622 Sugarloaf Parkway
                     Suite 300
                     Duluth, GA 30097



                     Renasant Bank
                     209 Troy St
                     PO Box 709
                     Tupelo, MS 38802



                     SBA EIDL
                     2 North Street
                     Ste 320
                     Birmingham, AL 35203



                     SBA Loan
                     2 20 St. N. Ste 320
                     Birmingham, AL 35203



                     Singh and Patel CPAs LLc
                     10801 Pruett Lane
                     Glen Allen, VA 23059
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                     SOFO FOODS
                     3910 Lakefield Dr
                     Suwanee, GA 30024



                     Super Source, Inc.
                     3655 Kennesaw
                     75 Parkway, Suite 100
                     Kennesaw, GA 30144



                     Terrence and Kimberly Griffin
                     1895 Milfield Circle,
                     Snellville, GA 30078



                     Terrence Griffin
                     1895 Milfield Circle
                     Snellville, GA 30078



                     Trimark
                     6684 Jimmy Carter Blvd
                     Norcross, GA 30071
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 In re      Making Dough, LLC                                                                                Case No.
                                                                                    Debtor(s)                Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Making Dough, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 2, 2022                                                     /s/ William A. Rountree
 Date                                                                  William A. Rountree
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Making Dough, LLC
                                                                       Rountree, Leitman Klein & Geer, LLC
                                                                       Century Plaza I
                                                                       2987 Clairmont Road, Ste 350
                                                                       Atlanta, GA 30329
                                                                       404-584-1238 Fax:404 704-0246
                                                                       swenger@rlklawfirm.com




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